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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9
     QUOTEWIZARD.COM, LLC,                              Case No. C21-1043-RAJ-SKV
10
                                      Plaintiff,        PROPOSED ORDER GRANTING
11                                                      STIPULATED MOTION TO STAY
            v.                                          CASE
12
     REVPOINT MEDIA, LLC,
13
                                    Defendant.
14

15          The Stipulated Motion to Stay the Case, Dkt. 36, is GRANTED. The remaining pretrial

16   deadlines in this matter are STRICKEN and this case is STAYED pending the completion of class
17   certification briefing in Joseph Mantha v. QuoteWizard.com, LLC, Case No. C19-12235-LTS (D.
18
     Mass.). The Parties shall file a Status Report with this Court once that briefing is complete.
19
            Dated this 24th day of August, 2022.
20

21                                                        A
22                                                        S. KATE VAUGHAN
                                                          United States Magistrate Judge
23

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     PROPOSED ORDER ON STIPULATED MOTION
     TO STAY CASE - 1
